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   Attorneys for Plaintiffs SYLVESTER OWINO,
12 JONATHAN GOMEZ, and the Proposed Class(es)
13                         UNITED STATES DISTRICT COURT
14                      SOUTHERN DISTRICT OF CALIFORNIA
15 SYLVESTER OWINO and JONATHAN )                 Case No. 3:17-CV-01112-JLS-NLS
16 GOMEZ,    on behalf of themselves and all )
   others similarly situated,                 )
17                               Plaintiffs, ))   CLASS ACTION

18              vs.                           )
                                              )   SUPPLEMENTAL DECLARATION
19 CORECIVIC,     INC.,                       )   OF EILEEN R. RIDLEY IN SUPPORT
                                              )   OF PLAINTIFFS’ MOTION FOR
20                              Defendant.    )   CLASS CERTIFICATION
                                              )
21 CORECIVIC, INC.,                           )
                                              )   Date: August 22, 2019
22                       Counter-Claimant, )  )
                                                  Time: 2:00 p.m.
                                              )   Place: Courtroom 4D
23                                            )
24              vs.                           )
                                              )   Judge: Hon. Janis L. Sammartino
                                                  Magistrate: Hon. Nita L. Stormes
25 GOMEZ, on behalf of themselves and all ))
   SYLVESTER      OWINO     and JONATHAN

26 others similarly situated,                 )
                                                  DEMAND FOR JURY TRIAL
                       Counter-Defendants. ))
27                                            )
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                                                         Case No. 3:17-CV-01112-JLS-NLS
  Case 3:17-cv-01112-JLS-NLS Document 127-1 Filed 08/01/19 PageID.7352 Page 2 of 3


 1         I, Eileen R. Ridley, hereby declare and state:
 2         1.    I am a member in good standing of the State Bar of California and the
 3 United States District Court for the Southern District of California. I am a partner with
 4 the law firm of Foley & Lardner LLP. I, along with my co-counsel, represent Plaintiffs
 5 Sylvester Owino and Jonathan Gomez (“Plaintiffs”) and the proposed class(es) in the
 6 above-captioned matter. I am familiar with the file, the documents, and the history
 7 related to the action. I make this Supplemental Declaration in support of Plaintiffs’
 8 Motion for Class Certification. This Declaration is based on my own personal
 9 knowledge, and if called to testify, I could and would do so competently on the matters
10 stated herein.
11         23.   Attached hereto as Exhibit 1 is a true and correct copy of work agreements
12 executed by Plaintiff Sylvester Owino, Bates Nos. CCOG00025523-25532, which were
13 produced by Defendant to Plaintiffs during the course of discovery in this litigation.
14         23.   Attached hereto as Exhibit 2 is a true and correct copy of an Inmate
15 Account Summary for Plaintiff Jonathan Gomez, Bates Nos. CCOG00002465-2485,
16 which was produced by Defendant to Plaintiffs during the course of discovery in this
17 litigation.
18         I declare under penalty of perjury pursuant to the laws of the United States of
19 America that the foregoing is true and correct.
20 DATED: August 1, 2019
21                                                   /s/ Eileen R. Ridley
22                                                   Eileen R. Ridley

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                                               -1-             Case No. 17-CV-01112-JLS-NLS
 Case 3:17-cv-01112-JLS-NLS Document 127-1 Filed 08/01/19 PageID.7353 Page 3 of 3


1                            CERTIFICATE OF SERVICE
2        The undersigned hereby certifies that a true and correct copy of the above and
3 foregoing document has been served on August 1, 2019 to all counsel of record who are
4 deemed to have consented to electronic service via the Court’s CM/ECF system per Civil
5 Local Rule 5.4.
6
                                         /s/ Eileen R. Ridley
7                                        Eileen R. Ridley
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